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1 UNITED STATES DISTRICT COURT

2 EASTERN DISTRICT OF NEW YORK

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4 TATIANA HERDOCIA and ENA SCOTT,

5 -Plaintiffs,
6
7 ~against- Case No. CV 143196

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9 | SOUTHERN WINE & SPIRITS OF AMERICA, INC.
10 and WINE, LIQUOR & DISTILLERY WORKERS

Li UNION, LOCAL 1D,

12 Defendants.
13 | mrt rr rrr nr en nn nen en x
14 DEPOSITION OF

15 TATIANA HERDOCIA

16 SYOSSET, NEW YORK

17 MAY 20, 2015

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’ ATKINSON-BAKER, INC.

22 COURT REPORTERS

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25 FILE NO. ASO4F6E

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hi-lo operator hired in January of 2008 is
currently $21.75?
A. I don't know.

Q. $21.75 is less than you make; is that

AY Yes.
Q. So when I asked you what would be
ifferent if you were part of the warehouse, you
said you'd be paid more, you guess.
Do you remember that?

A. Yes.

QO. What leads you to believe that?

A. Our time; I've been there enough time

Q@. So you believe that you've been there
long enough that you should just get paid more?

A. No. I mean -~ we should just be
warehouse. We should be classified as warehouse

Q. And you also said that you think, if
you were part of the warehouse, there would be

some difference in overtime; is that right?

A. Yes.
QO. What would be the overtime difference?
A. We used to do it -- everything that the

warehouse guys did, until I filed my paperwork,

filed paperwork with Jose; and then they were

we

11:49

11:50

41:50

11:50

11:51

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ENA SCOTT MAY 12, 2015

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2 EASTERN DISTRICT OF NEW YORK

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1 e-mail?

2 A. Yes.

3 Q. And what help did she provide?

4 A. We just sat together to type it up.

5 Q. Okay. Looking at that e-mail that 15:29
6 has -- that's from you, halfway down the page, it

7 says, "How is it not a necessity now, when we aren't

8 able to complete our tasks as a department?"

9 Do you see that?
10 A. Yes. 15:29
11 Q. What are you referring to as a

12 necessity?

13 A. I'm referring to them saying that it
14 goes by -- is it necessary or not for the person to
15 be working or not. And our question was more of the 15:30

16 fact that if we're not able to complete all of the

17 cycle counts and get them done, how is it not

18 necessary for us to come in and do some sort of
19 overtime, when now, more than ever, we're down a
20 staff member? Why would it be taken from us now, 15:30

21 when the rest of the warehouse is being granted

22 overtime? Like, it wouldn't be less necessary. It's

23 more necessary now than ~- more than ever.

24 QO. It says, "We've been working overtime

25 since we were hired." 15:30

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